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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 DENETTE J. LIGON, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 22-cv-9179
                                         Plaintiff,

                      - against -
                                                                CLASS ACTION COMPLAINT
 PAULA DEEN VENTURES, LLC,

                                          Defendant.
 -----------------------------------------------------------X

        Plaintiff, Denette J. Ligon. (hereinafter “Plaintiff”), on behalf of herself and all others

similarly situated, by and through her undersigned attorney, hereby files this Class Action Complaint

against Paula Deen Ventures, LLC (hereinafter “Paula Deen Ventures” or “Defendant”), and states as

follows:

                                             INTRODUCTION

        1.       This class action seeks to put an end to systemic civil rights violations committed by

Defendant against deaf and hard-of-hearing individuals in New York State and across the United

States. Defendant denies deaf and hard-of-hearing individuals throughout the United States equal

access to the goods and services that it provides to non-disabled individuals, through

http://www.pauladeen.com (hereinafter the “Website”) and related domains owned by Defendant.

Defendant provides a wide array of goods and services to the public through its Website. However,

the Website contains access barriers that make it difficult for deaf and hard-of-hearing individuals to

use the Website. In fact, the access barriers make it impossible for deaf and hard-of-hearing users to

comprehend the audio portion of videos that are posted on the Website. Defendant thus exclude the
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deaf and hard of hearing from the full and equal participation in the growing Internet economy that is

increasingly a fundamental part of the common marketplace and daily living. In the wave of

technological advances in recent years, assistive technology is becoming an increasingly prominent

part of everyday life, allowing deaf and hard-of-hearing people to fully and independently access a

variety of services, including online videos.

        2.      Plaintiff, who currently lives in New York City, is a deaf individual. She brings

this civil rights class action lawsuit against Defendant for failing to design, construct, and/or own

or operate a website that is fully accessible to, and independently usable by, deaf and hard-of-

hearing people.

        3.      Approximately 36 million people in the United States are deaf or hard of hearing.

Many of these individuals require captioning to meaningfully comprehend the audio portion of

video content. Just as buildings without ramps bar people who use wheelchairs, video content

without captions excludes deaf and hard-of-hearing individuals. Closed captioning is a viewer-

activated system that displays text on, for instance, online videos, television programming, or

DVD movies. This is different from open captioning or subtitles, which are burned into the video

file and automatically displayed for everyone to see, such as subtitles in foreign language

movies. With closed captioning, deaf and hard-of-hearing individuals have the opportunity to

watch videos by reading the captioned text.

        4.      Deaf and hard-of-hearing people watch videos just as aurally capable people do. The

lack of closed captioning means that deaf and hard-of-hearing people are excluded from the rapidly

expanding Internet media industry and from independently accessing videos posted on the Website.

        5.      Despite readily available accessible technology, such as the technology in use at

other heavily trafficked websites, which makes use of closed captioning for hard-of-hearing

individuals, such as YouTube and Netflix, Defendant has chosen to post videos without closed

captioning, or with limited closed captioning, that are inaccessible to deaf and hard-of-hearing
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individuals. Without closed captioning, deaf and hard-of-hearing people cannot comprehend the

audio portion of the videos on the Website.

        6.      By failing to make the Website accessible to deaf and hard-of-hearing persons,

Defendant is violating basic equal access requirements under both state and federal law.

        7.      Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the Americans with

Disabilities Act. Such discrimination includes barriers to full integration, independent living, and

equal opportunity for persons with disabilities, including those barriers created by websites and

other public accommodations that are inaccessible to deaf and hard-of-hearing individuals.

Similarly, New York state law requires places of public accommodation to ensure access to

goods, services, and facilities by making reasonable accommodations for persons with

disabilities.

        8.      Such mandate includes the elimination of discrimination against the deaf as it

relates to original content as well as third-party content. See Thurston v. Midvale Corp., 219

WL 4166620 (Ca. Ct. of Appeals, 2d App. Div., Sept. 3, 2019).

        9.      Plaintiff loves southern cooking and was interested in learning about Paula Deen

and learning about her Southern style of living and cooking and consequently visited the

Website. During October 2022, Plaintiff visited the Website on numerous occasions and

browsed and intended to watch videos from Paula Deen’s television shows about southern

cooking and entertaining. Specifically, Plaintiff attempted to view the video from the show

Paula’s Best Dishes, Season 1, Episode 4 entitled “Home Sweet, Home,” the video from the

show Paula’s Home Cooking, Season 6, Episode 2 entitled “Grubfest,” and the video from the

show Positively Paula, entitled “BBQ Inside?” However, unless Defendant remedy the numerous

access barriers on the Website, Plaintiff and Class members will continue to be unable to

independently watch videos on the Website.
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       10.     This complaint seeks declaratory and injunctive relief to correct Defendant’s

policies and practices to include measures necessary to ensure compliance with federal and state

law, to include monitoring of such measures, and to update and remove accessibility barriers on

the Website so that Plaintiff and the proposed Class and Subclass individuals who are deaf and

hard of hearing will be able to independently and privately view videos posted on the Website.

This complaint also seeks compensatory damages to compensate Class members for having been

subjected to unlawful discrimination.

                                JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12181, et seq., (“ADA”); and

       12.     28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C §

1332(d)(1)(B), in which a member of the putative Class is a citizen of a different state than

Defendant, and the amount in controversy exceeds the sum or value of $5,000,000, excluding

interest and costs. See 28 U.S.C. § 1332(d).

       13.     This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367, over

Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

Administrative Code § 8-101 et seq. (“City Law”).

       14.     Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §§

1391(b)-(c) and 1441(a).

       15.     Defendant is registered to do business in New York State and has been

conducting business in New York State, including in this District. Defendant maintains Brick-

and-mortar places of accommodation in this District which are subject to personal jurisdiction in

this District. Defendant also has been and is committing the acts alleged herein in this District
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and has been and is violating the rights of consumers in this District and has been and is causing

injury to consumers in this District. A substantial part of the act and omissions giving rise to

Plaintiff’s claims have occurred in this District.

                                             PARTIES

       16.     Plaintiff is and has been at all times material hereto a resident of New York

County, State of New York.

       17.     Plaintiff is legally deaf and a member of a protected class under the ADA, 42

U.S.C. § 12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR § 36.101 et

seq., the New York State Human Rights Law, and the New York City Human Rights Law.

Plaintiff cannot access the audio portion of a video without the assistance of closed captioning.

Plaintiff has been denied the full enjoyment of the facilities, goods, and services of the Website,

as a result of its accessibility barriers. Most recently on October 18, 2022, Plaintiff attempted to

watch the instructional and entertaining videos on the Website but could not comprehend the

content of the videos due to their lack of closed captioning. The inaccessibility of the Website

has deterred her and Class members from watching videos on the Website.

       18.     Defendant, Paula Deen Ventures, LLC, is a Delaware Foreign limited liability

company doing business in New York and is registered in the State of New York to do business.

       19. Defendant owns and operates many restaurants around the country including The

Lady and Sons, Paula Deen’s Creek House, and Paula Deen’s Family Kitchen (“Paula Deen

Restaurants”) which are a place of public accommodation.

       20.     The failure of Defendant to provide equal access to deaf and hard-of-hearing

individuals violates the mandate of the ADA to provide “full and equal enjoyment” of a public

accommodation’s goods, services, facilities, and privileges. Places of public accommodation

include, “place[s] of exhibition and entertainment,” “places[s] of recreation,” and “service

establishments.” 28 C.F.R. § 36.201 (a); 42 U.S.C. §12181 (7). Because the Website and its
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nexus to the Paula Deen Restaurants is a “place of public accommodation,” denial of equal

access to the videos available to hearing individuals violates the ADA. Remedying that violation

is critical to the ADA’s goal of providing people with disabilities the same access that others take

for granted. Accordingly, Plaintiff seeks injunctive and declaratory relief to ensure that deaf and

hard-of-hearing individuals have equal access to the Website.

       21.     Plaintiff seeks full and equal access to the goods and services provided by

Defendant through the Website.

                               CLASS ACTION ALLEGATIONS

       22.     Plaintiff, on behalf of herself and all others similarly situated, seeks certification

of the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of

Civil Procedure: “all legally deaf and hard-of-hearing individuals in the United States who have

attempted to access the Website and as a result have been denied access to the enjoyment of

goods and services offered by the Website during the relevant statutory period.”

       23.     Plaintiff seeks certification of the following New York subclass pursuant to Fed.

R. Civ. P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally deaf and hard-of-hearing

individuals in New York State who have attempted to access the Website and as a result have

been denied access to the enjoyment of goods and services offered by the Website, during the

relevant statutory period.”

       24.     There are hundreds of thousands of deaf or hard-of-hearing individuals in New

York State. There are approximately 36 million people in the United States who are deaf or hard

of hearing. Thus, the persons in the Class are so numerous that joinder of all such persons is

impractical and the disposition of their claims in a class action is a benefit to the parties and to

the Court.

       25.     This case arises out of Defendant’s policy and practice of maintaining an

inaccessible website denying deaf and hard-of-hearing persons access to the goods and services
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of the Website. Due to Defendant’s policy and practice of failing to remove access barriers, deaf

and hard-of-hearing persons have been and are being denied full and equal access to

independently browse and watch videos on the Website.

       26. There are common questions of law and fact common to the class, including without

limitation, the following:

       a. Whether the Website is a “public accommodation” under the ADA;

       b. Whether the Website is a “place or provider of public accommodation” under the laws

       of New York;

       c. Whether Defendant through the Website denies the full and equal enjoyment of its

       goods, services, facilities, privileges, advantages, or accommodations to people with

       hearing disabilities in violation of the ADA; and

       d. Whether Defendant through the Website denies the full and equal enjoyment of its

       goods, services, facilities, privileges, advantages, or accommodations to people with

       hearing disabilities in violation of the laws of New York.

       27.     The claims of the named Plaintiff are typical of those of the Class. The Class,

similarly to the Plaintiff, are deaf or hard of hearing, and claim that Defendant has violated the

ADA, and/or the laws of New York by failing to update or remove access barriers on the

Website, so it can be independently accessible to the Class of people who are legally deaf or hard

of hearing.

       28.     Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the members of the Class. Class certification of the claims is appropriate pursuant to Fed. R.

Civ P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to
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the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and

the Class as a whole.

       29. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

questions of law and fact common to Class members clearly predominate over questions

affecting only individual Class members, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

       30.     Judicial efficiency will be served by maintenance of this lawsuit as a class action

in that it will avoid the burden that would be otherwise placed upon the judicial system by the

filing of numerous similar suits by people with hearing disabilities throughout the United States.

       31.     References to Plaintiff shall be deemed to include the named Plaintiff and each

member of the Class, unless otherwise indicated.

                                   FACTUAL ALLEGATIONS

       32.     Defendant operates the Website, which is an online informational, educational,

entertainment, and shopping website allowing visitors to learn recipes, watch episodes from

Paula Deen’s television shows, shop for merchandise, learn about Paula Deen’s restaurant and

their locations, and make purchases, amongst other features. Defendant delivers information to

millions of people across the United States.

       33.     The Website is a service and benefit offered by Defendant throughout the United

States, including New York State. The Website is owned, controlled and/or operated by

Defendant.

       34.     The Website allows users to browse and search for merchandise, including

cookware, make purchases, learn recipes developed by Paula Deen, learn about the Paula Deen

owned restaurants and their locations, and watch videos which are an entertaining and

instructional way of learning about Paula Deen, southern cooking, and about specific recipes,

including the video from the show Paula’s Best Dishes, Season 1, Episode 4 entitled “Home
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Sweet, Home,” the video from the show Paula’s Home Cooking, Season 6, Episode 2 entitled

“Grubfest,” and the video from the show Positively Paula, entitled “BBQ Inside?” The videos

not only provide recipes, but are also entertaining and provide shared stories while Paula is

cooking, welcome fans into Paula’s kitchen, and include visits from friends and family who

share their stories. Defendant’s videos are available with the click of a mouse and are played

through the Internet on computers, cell phones, and other electronic devices.

       35.     This case arises out of Defendant’s policy and practice of denying the deaf and

hard of hearing full and equal access to the Website, including the goods and services offered by

Defendant through the Website. Due to Defendant’s failure and refusal to remove access barriers

to the Website, deaf and hard-of-hearing individuals have been and are being denied equal access

to the Website, as well as to the numerous goods, services and benefits offered to the public

through the Website.

       36.     Defendant denies the deaf and hard of hearing access to goods, services, and

information made available through the Website by preventing them from freely enjoying,

interpreting, and understanding the content on the Website.

       37.     The Internet has become a significant source of information for conducting

business and for doing everyday activities such as reading news, watching videos, etc., for deaf

and hard-of-hearing persons.

       38.     The deaf and hard of hearing access videos through closed captioning, which is a

transcription or translation of the audio portion of a video as it occurs, sometimes including

description of non-speech elements. Except for a deaf or hard-of-hearing person whose residual

hearing is still sufficient to apprehend the audio portion of the video, closed captioning provides

the only method by which a deaf or hard-of-hearing person can independently access the video.

Unless websites are designed to allow for use in this manner, deaf and hard-of-hearing persons

are unable to fully access the service provided through the videos on the Website.
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       39.     There are well-established guidelines for making websites accessible to disabled

people. These guidelines have been in place for several years and have been followed

successfully by other large business entities in making their websites accessible. The Web

Accessibility Initiative (“WAI”), a project of the World Wide Web Consortium which is the

leading standards organization of the Web, has developed guidelines for website accessibility,

called the Web Content Accessibility Guidelines (“WCAG”). The federal government has also

promulgated website accessibility standards under Section 508 of the Rehabilitation Act. These

guidelines are readily available via the Internet, so that a business designing a website can easily

access them. These guidelines recommend several basic components for making websites

accessible, including but not limited to adding closed captioning to video content.

       40.     The Website contains access barriers that prevent free and full use by Plaintiff and

other deaf or hard-of-hearing persons, including but not limited to the lack of closed captioning.

This barrier is in violation of WCAG 2.1 Guideline 1.2.2, which mandates that video content

contain captioning.

       41. The Website contains prominent informational and entertaining videos that lack

captioning. The video from the show Paula’s Best Dishes, Season 1, Episode 4 entitled “Home

Sweet, Home,” the video from the show Paula’s Home Cooking, Season 6, Episode 2 entitled

“Grubfest,” and the video from the show Positively Paula, entitled “BBQ Inside?” are amongst

the many videos on the Website that do not contain closed captioning. The lack of captioning

prevents Plaintiff and other deaf or hard-of-hearing people from understanding the content of

that videos, thus preventing them from learning about the recipes of the meals cooked and from

being entertained by stories shared by Paula Deen and her many guests.

       42.     Due to the Website’s inaccessibility, Plaintiff and other deaf or hard-of-hearing

individuals must in turn spend time, energy, and/or money to apprehend the audio portion of the

videos offered by Defendant. Some deaf and hard-of-hearing individuals may require an
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interpreter to apprehend the audio portion of the video or require assistance from their friends or

family. By contrast, if the Website was accessible, a deaf or hard-of-hearing person could

independently watch the videos and enjoy the services provided by Defendant as hearing

individuals can and do.

       43.     The Website thus contains access barriers which deny full and equal access to

Plaintiff, who would otherwise use the Website and who would otherwise be able to fully and

equally enjoy the benefits and services of the Website in New York State.

       44.     Plaintiff attempted to watch cooking videos from the collection of Paula Deen

television shows. Specifically, Plaintiff attempted to view the video from the show Paula’s Best

Dishes, Season 1, Episode 4 entitled “Home Sweet, Home,” the video from the show Paula’s

Home Cooking, Season 6, Episode 2 entitled “Grubfest,” and the video from the show Positively

Paula, entitled “BBQ Inside?” amongst other videos. Plaintiff attempted to view these videos in

September and October 2022, most recently on October 18, 2022 but was unable to do so

independently because of the lack of closed captioning on the Website, causing it to be

inaccessible and not independently usable by deaf and hard-of-hearing individuals. There are

many more videos which lack closed-captioning on the Website. Moreover, if Defendant

removes the access barriers that currently exist on the Website, Plaintiff will definitely visit the

Website in the future to watch additional southern cooking videos with Paula Deen and even

make purchases on the website. Paula Deen is a well-known celebrity chef who, not only makes

delicious food, but is also charismatic and entertaining. This combination makes it easy and fun

to learn how to cook her southern recipes which Plaintiff is eager to learn. There are hundreds

of episodes of Paula Deen television shows available for viewing on the Website. If the website

was accessible to the deaf, Plaintiff will be able to visit the website and watch and learn from

many more entertaining and educational videos. Defendant has watched cooking videos on other

(accessible) websites in the past since she likes to cook. However, since Defendant’s shows are
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known to be entertaining and focus on southern cooking, Plaintiff would continue to watch

videos and make purchases on Defendant’s website if it was accessible. Unlike a brick-and-

mortar facility, a website is instantly accessible at any moment, and, thus, an inability to listen to

videos can only be attributed to access barriers (whereas for brick-and-mortal locations it can be

attributed to proximity, travel time, etc.). See Sanchez v. Nutco, Inc., 10-CV-10107 (JPO), 2022

U.S. Dist. LEXIS 51247, at *7 (S.D.N.Y. Mar. 22, 2022) (citing Quezada v U.S. Wings, Inc., 20

Civ. 10707 (ER), 2021 U.S. Dist. LEXIS 234057, at *4 (S.D.N.Y. Dec. 7 2021)). Determining

whether an ADA website accessibility complaint properly allege whether plaintiff lives in “close

proximity” to a specific location makes no sense when goods can be browsed, bought, and

delivered to Plaintiff’s home through a website. Likewise, factual considerations of an intent to

return regarding a physical location, such as how often the plaintiff walks by the location, or how

often they enter the facility, are not applicable. Cf. Lopez v. Arby Franchisor, LLC, 19-CV-10074

(VSB) 2021 U.S. Dist. LEXIS 43838. at *10 (S.D.N.Y. March 8, 2021). Plaintiff made numerous

attempts to view and understand videos on the website during September and October, 2022

without success and will definitely view the videos on the website in the future if they become

accessible to the deaf.

       45.     As described above, Plaintiff has actual knowledge of the fact that the Website

contains access barriers causing the Website to be inaccessible, and not independently usable by,

deaf and hard-of-hearing individuals.

       46.     These access barriers have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits, and services of Defendant and the Website.

       47.     Defendant engaged in acts of intentional discrimination, including but not limited

to the following policies or practices:

       (a) constructing and maintaining a website that is inaccessible to deaf and hard-of-hearing

Class members with knowledge of the discrimination; and/or
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        (b) constructing and maintaining a website that is sufficiently intuitive and/or obviously

inaccessible to deaf and hard-of-hearing Class members; and/or

        (c) failing to take actions to correct access barriers in the face of substantial harm and

discrimination to deaf and hard-of-hearing Class members.

        48. Defendant utilizes standards, criteria, and methods of administration that have the

effect of discriminating or perpetuating the discrimination of others.

                                   FIRST CAUSE OF ACTION

   (Violation of 42 U.S.C. § 12181, et seq. — Title III of the Americans with Disabilities Act)
                              (on behalf of Plaintiff and the Class)

        49.     Plaintiff realleges and incorporates by reference the foregoing allegations as if set

forth fully herein.

        50.     Title III of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12182(a),

provides that “No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

of any place of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

criteria or methods of administration that have the effect of discriminating on the basis of

disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

        51.     Defendant operates a place of public accommodation as defined by Title III of

ADA, 42 U.S.C. § 12181(7), a “place of education,” a “place of exhibition or entertainment,” a

“place of recreation,” and “service establishments.”

        52.     Defendant has failed to make its videos accessible to individuals who are deaf or

hard of hearing by failing to provide closed captioning for videos displayed on the Website.
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       53.     Discrimination under Title III includes the denial of an opportunity for the person

who is deaf or hard of hearing to participate in programs or services or providing a service that is

not as effective as what is provided to others. 42 U.S.C. § 12182(b)(1)(A)(I-III).

       54.     Discrimination specifically includes the failure to provide “effective

communication” to deaf and hard-of-hearing individuals through auxiliary aids and services,

such as captioning, pursuant to 42 U.S.C. § 12182(b)(1)(A)(III); 28 C.F.R. § 36.303(C).

       55.     Discrimination also includes the failure to maintain accessible features of

facilities and equipment that are required to be readily accessible to and usable by persons with

disabilities. 28 C.F.R. §36.211.

       56.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

       57.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities and

the opportunity to participate in or benefit from the goods, services, facilities, privileges,

advantages, or accommodations, which is equal to the opportunities afforded to other

individuals.

       58.      Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

unlawful discrimination includes, among other things, “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”
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       59.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

discrimination also includes “a failure to take such steps as may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services, unless the

entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

service, facility, privilege, advantage, or accommodation being offered or would result in an

undue burden.”

       60.     The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. §

12101 et seq., and the regulations promulgated thereunder. Individuals who are deaf and hard of

hearing have been denied full and equal access to the Website have not been provided services

that are provided to other patrons who are not disabled, and/or have been provided services that

are inferior to the services provided to non-disabled patrons.

       61.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       62.     Modifying its policies, practices, and services by providing closed captions to

make its videos accessible to deaf and hard-of-hearing individuals would not fundamentally alter

the nature of Defendant’s business, nor would it pose an undue burden to this flourishing

company.

       63.     As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed Class and Subclass on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of the Website in violation of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. and/or its implementing regulations.
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       64.      Unless the Court enjoins Defendant from continuing to engage in these unlawful

practices, Plaintiff and members of the proposed Class and Subclass will continue to suffer

irreparable harm.

       65.       The actions of Defendant were and are in violation of the ADA and therefore

Plaintiff invokes his statutory right to injunctive relief to remedy the discrimination.

       66.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       67.      Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein Plaintiff prays for judgment as set forth below.

                                 SECOND CAUSE OF ACTION

              (Violation of New York State Human Rights Law, N.Y. Exec. Law,
    Article 15 (Executive Law § 292 et seq.) (on behalf of Plaintiff and New York subclass)

       68.      Plaintiff realleges and incorporates by reference the foregoing allegations as

though fully set forth herein.

       69.      N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

employee of any place of public accommodation . . . because of the . . . disability of any person,

directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

       70.      Defendant operates a place of public accommodation as defined by N.Y. Exec.

Law § 292(9).

       71.      Defendant is subject to New York Human Rights Law because it owns and

operate the Website. Defendant is a person within the meaning of N.Y. Exec. Law § 292(1).

       72.      Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to the Website, causing the videos displayed on the Website to be

completely inaccessible to the deaf and hard of hearing. This inaccessibility denies deaf and
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hard-of-hearing patrons full and equal access to the facilities, goods and services that Defendant

makes available to the non-disabled public.

       73.     Specifically, under N.Y. Exec. Law § 296(2)(c)(I), unlawful discriminatory

practice includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities, privileges,

advantages or accommodations to individuals with disabilities, unless such person can

demonstrate that making such modifications would fundamentally alter the nature of such

facilities, privileges, advantages or accommodations.”

       74.     In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

practice also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of auxiliary

aids and services, unless such person can demonstrate that taking such steps would

fundamentally alter the nature of the facility, privilege, advantage or accommodation being

offered or would result in an undue burden.”

       75.     Defendant’s actions constitute willful intentional discrimination against the class

on the basis of a disability in violation of the New York State Human Rights Law, N.Y. Exc.

Law § 296(2) in that Defendant has:

(a) constructed and maintained a website that is inaccessible to deaf and hard-of-hearing Class

members with knowledge of the discrimination; and/or

(b) constructed and maintained a website that is sufficiently intuitive and/or obvious that is

inaccessible to deaf and hard-of-hearing Class members; and/or

(c) failed to take actions to correct these access barriers in the face of substantial harm and

discrimination to deaf and hard-of-hearing Class members.

       76.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.
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       77.     As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed Class and Subclass on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of the Website under § 296(2) et seq. and/or its

implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

these unlawful practices, Plaintiff and members of the Subclass will continue to suffer

irreparable harm.

       78.     The actions of Defendant were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes her right to injunctive relief to remedy the

discrimination.

       79.     Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines pursuant to N.Y. Exc. Law § 297(4)(c) et seq. for each and every offense.

       80.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       81.     Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.

                                 THIRD CAUSE OF ACTION

                 (Violation of New York State Civil Rights Law, NY CLS Civ R,
        Article 4 (CLS Civ R § 40 et seq.) (on behalf of Plaintiff and New York subclass)

        82.    Plaintiff realleges and incorporates by reference the foregoing allegations as

though fully set forth herein.

       83.     Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil

Rights Law § 41.

       84.     N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of

this state shall be entitled to the full and equal accommodations, advantages, facilities and

privileges of any places of public accommodations, resort or amusement, subject only to the
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conditions and limitations established by law and applicable alike to all persons. No persons,

being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any such

place shall directly or indirectly refuse, withhold from, or deny to any person any of the

accommodations, advantages, facilities and privileges thereof . . . . ”

        85.     N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

disability, as such term is defined in section two hundred ninety-two of executive law, be

subjected to any discrimination in his or her civil rights, or to any harassment, as defined in

section 240.25 of the penal law, in the exercise thereof, by any other person or by any firm,

corporation or institution, or by the state or any agency or subdivision.”

        86.     The Website is a public accommodations within the definition of N.Y. Civil

Rights Law § 40-c(2).

        87.     Defendant is subject to New York Civil Rights Law because it owns and operates

the Website. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).

        88.     Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or

remove access barriers to the Website, causing videos on the Website to be completely

inaccessible to the deaf and hard of hearing. This inaccessibility denies deaf and hard-of-hearing

patrons full and equal access to the goods and services that Defendant makes available to the

non-disabled public.

        89.     In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall

violate any of the provisions of sections forty, forty-a, forty-b or forty-two . . . shall for each and

every violation thereof be liable to a penalty of not less than one hundred dollars nor more than

five hundred dollars, to be recovered by the person aggrieved thereby . . . . ”

        90.     Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate

any of the provisions of the foregoing section, or subdivision three of section 240.30 or section

240.31 of the penal law, or who shall aid or incite the violation of any of said provisions shall for
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each and every violation thereof be liable to a penalty of not less than one hundred dollars nor

more than five hundred dollars, to be recovered by the person aggrieved thereby in any court of

competent jurisdiction in the county in which the Defendant shall reside . . . . ”

        91.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

        92.     As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed Class on the basis of disability are being directly

or indirectly refused, withheld from, or denied the accommodations, advantages, facilities and

privileges thereof in § 40 et seq. and/or its implementing regulations.

        93.     Plaintiff is entitled to compensatory damages of five hundred dollars per instance,

as well as civil penalties and fines pursuant to N.Y. Civil Law § 40 et seq. for each and every

offense.

                                  FOURTH CAUSE OF ACTION

(Violation of New York City Human Rights Law, N.Y.C. Administrative Code § 8-102, et seq.)
                       (on behalf of Plaintiff and New York subclass)

        94.     Plaintiff realleges and incorporates by reference the foregoing allegations as if set

forth fully herein.

        95.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

discriminatory practice for any person who is the owner, franchisor, franchisee, lessor, lessee,

proprietor, manager, superintendent, agent or employee of any place or provider of public

accommodation . . . [b]ecause of any person’s . . . disability . . . directly or indirectly . . . [t]o

refuse, withhold from or deny to such person the full and equal enjoyment, on equal terms and

conditions, of any of the accommodations, advantages, services, facilities or privileges of the

place or provider of public accommodation.”
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        96.     The Website is a public accommodation within the definition of N.Y.C.

Administrative Code § 8-102.

        97.     Defendant is subject to City Law because it owns and operates the Website.

Defendant is a person within the meaning of N.Y.C. Administrative Code § 8-102.

        98.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

update or remove access barriers to the Website, causing the Website and the services integrated

with the Website to be completely inaccessible to the deaf. This inaccessibility denies deaf

patrons full and equal access to the facilities, goods, and services that Defendant makes available

to the non-disabled public. Specifically, Defendant is required to “make reasonable

accommodation to the needs of persons with disabilities . . . it is an unlawful discriminatory

practice for any person prohibited by the provisions of [§ 8-107 et seq.] from discriminating on

the basis of disability not to provide a reasonable accommodation to enable a person with a

disability to . . . enjoy the right or rights in question provided that the disability is known or

should have been known by the covered entity.” N.Y.C. Administrative Code § 8-107(15)(a).

        99.     Defendant’s actions constitute willful intentional discrimination against the class

on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and §

8107(15)(a) in that Defendant has: (a) constructed and maintained a website that is inaccessible

to deaf and hard-of-hearing Class members with knowledge of the discrimination; and/or

(b) constructed and maintained a website that is sufficiently intuitive and/or obvious that is

inaccessible to deaf and hard-of-hearing Class members; and/or

(c) failed to take actions to correct these access barriers in the face of substantial harm and

discrimination to deaf and hard-of-hearing Class members.

        100.    Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.
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         101.   As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed Class and Subclass on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations, and/or opportunities of the Website under § 8-107(4)(a) and/or its

implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

these unlawful practices, Plaintiff and members of the Subclass will continue to suffer

irreparable harm.

         102.   The actions of Defendant were and are in violation of City Law and therefore

Plaintiff invokes her right to injunctive relief to remedy the discrimination.

         103.   Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

         104.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

         105.   Pursuant to N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set forth

below.

                                   FIFTH CAUSE OF ACTION

                      (Declaratory Relief) (on behalf of Plaintiff and the Class)

         106.   Plaintiff realleges and incorporates by reference the foregoing allegations as if set

forth fully herein.

         107.   An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that the Website contains

access barriers denying deaf and hard-of-hearing individuals the full and equal access to the

goods and services of the Website, which Defendant owns, operates, and/or controls, fails to

comply with applicable laws including, but not limited to, Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.
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Administrative Code § 8-107, et seq. prohibiting discrimination against the deaf and hard of

hearing.

       108.     A judicial declaration is necessary and appropriate at this time in order that each

of the parties may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests relief as follows:

       a)       A preliminary and permanent injunction to prohibit Defendant from violating the

Americans with Disabilities Act, 42 U.S.C. § 12182, et seq., N.Y. Exec. Law § 296, et seq.,

N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

       b)       A preliminary and permanent injunction requiring Defendant to take all the steps

necessary to make the Website fully compliant with the requirements set forth in the ADA, and

its implementing regulations, so that the Website is readily accessible to and usable by deaf and

hard-of-hearing individuals;

       c)       A declaration that Defendant owns, maintains, and/or operates the Website in a

manner which discriminates against the deaf and hard of hearing, and which fails to provide

access for persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §

12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and

the laws of New York;

       d)       An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class Counsel;

       e)       Compensatory damages in an amount to be determined by proof, including all

applicable statutory damages and fines, to Plaintiff and the proposed Subclass for violations of

their civil rights under New York State Human Rights Law and City Law;

       f)       Plaintiff’s reasonable attorneys’ fees, statutory damages, expenses, and costs of

suit as provided by state and federal law;
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       g)        For pre- and post-judgment interest to the extent permitted by law; and

       h)        For such other and further relief which this court deems just and proper.




                                 DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

herself and all others similarly situated, demands a trial by jury on all questions of fact raised by

the Complaint.

Dated: Scarsdale, New York
       October 26, 2021
                                                      SHAKED LAW GROUP, P.C.
                                                      Attorneys for Plaintiff

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